     Case 2:07-cr-00248-WBS-DB Document 1280 Filed 03/25/14 Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 2:07-cr-0248 WBS DAD
12                     Plaintiff,
13          v.                                        ORDER
14   ALVARO COBIAN GOMEZ,
15                     Defendant.
16

17          On March 6, 2014, the assigned District Judge referred this matter to the undersigned for

18   resolution of defendant’s motion “to verify leave to proceed in forma pauperis,” (Dkt. No. 1271),

19   and motion requesting a report on the status of his case. (Dkt. No. 1278.) Therein, defendant

20   asserts that he was previously granted leave to proceed in forma pauperis on August 22, 2013,

21   and seeks confirmation of such from the court. However, a review of the court’s docket reveals

22   no support for defendant’s assertion that he was previously granted leave to proceed in forma

23   pauperis.

24          Nonetheless, the court takes judicial notice of the fact that the defendant previously

25   completed and submitted a financial affidavit in support of his request for the appointment of

26   counsel in connection with this criminal prosecution, (Dkt. No. 26), that the defendant was

27   represented by appointed counsel throughout the proceedings in this criminal action, that after

28   defendant stated a desire to represent himself on appeal the assigned District Judge allowed
                                                      1
     Case 2:07-cr-00248-WBS-DB Document 1280 Filed 03/25/14 Page 2 of 2


 1   defendant’s appointed counsel to withdraw after filing a notice of appeal on defendant’s behalf,

 2   (Dkt. No. 1252), and that the defendant is currently incarcerated and proceeding pro se. In light

 3   of this record, the court will grant the defendant leave to proceed in forma pauperis on appeal.

 4          To the extent the defendant is attempting to inquire about the status of his appeal, the

 5   defendant is directed to contact the United States Court of Appeals for the Ninth Circuit and

 6   reference his case number before that court, 13-10487.

 7          Accordingly, defendant Alvaro Cobian Gomez is granted leave to proceed in forma

 8   pauperis on appeal. The Clerk of the Court is also directed to serve a copy of this order on the

 9   Office of the Federal Defender.

10          IT IS SO ORDERED.

11   Dated: March 24, 2014

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